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                  EXHIBIT I
       Case No. 21-CV-0817-TSZ

           (Exhibit I to Mann Declaration)
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           Video Game Cheating
           Expert Witness Report
                      of
              Mr. Steven Guris
                     for
             Perkins Coie LLP




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Introduction
   1. I have been retained as an expert by Bungie, Inc. (“Bungie”) to provide my report and testimony
      in connection with the arbitration proceeding titled Bungie, Inc. v. AimJunkies.com, et al., Ref.
      No. 5160000075 before Hon. Ronald E. Cox (Ret.) at JAMS.
   2. I have been asked to provide my opinion regarding the video game industry, video game
      gameplay, and the impact of video game cheats on video games and the video game industry.
   3. I have been asked to provide this expert report to lay out my opinions on the matter in dispute.
   4. The opinions set forth in this report are based on my expertise related to video games and
      Bungie’s Destiny 2, as well as my professional experience as an active investigator in digital
      forensics and cybercrime, and my review of the following documents:
          ○ BUNGIE_WDWA_0000469
          ○ BUNGIE_WDWA_0000602
          ○ BUNGIE_WDWA_0000606
          ○ PDG_0048
          ○ PDG_0049
          ○ PDG_0050
          ○ PDG_0052
          ○ PDG_0053
          ○ PDG_0054
          ○ PDG_0055
          ○ PDG_0056
          ○ PDG_0057
          ○ PDG_0058
          ○ PDG_0059
          ○ PDG_0060
          ○ HAHN_0000001
          ○ HAHN_0000004
          ○ HAHN_0000007
          ○ HAHN_0000010
          ○ HAHN_0000013
          ○ HAHN_0000016
          ○ HAHN_0000019
          ○ HAHN_0000022
          ○ HAHN_0000025
          ○ HAHN_0000028
          ○ HAHN_0000031
          ○ HAHN_0000035
          ○ HAHN_0000038




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           ○   Rogers, Everett M.; Larsen, Judith K., Silicon Valley Fever: Growth of High-technology
               Culture, 1985.
           ○   https://www.marketwatch.com/story/videogames-are-a-bigger-industry-than-sports-an
               d-movies-combined-thanks-to-the-pandemic-11608654990
           ○   https://www.statista.com/statistics/499703/share-consumers-ever-play-video-games-by-
               age-usa/, Vorhaus Digital Strategy Study 2022, p. 91.
           ○   https://www.statista.com/statistics/190225/digital-and-physical-game-sales-in-the-us-si
               nce-2009/
           ○   https://www.trade.gov/ecommerce-frontline-social-media-forecast
           ○   https://www.indeed.com/hire/job-description/community-manager
           ○   https://www.oxfordreference.com/view/10.1093/oi/authority.20110803100544310
           ○   https://www.jstor.org/stable/j.ctv1hp5hqw.13
           ○   https://www.bungie.net/7/en/legal/sla
           ○   https://support.microsoft.com/en-us/topic/june-28-2022-kb5014666-os-builds-19042-1
               806-19043-1806-and-19044-1806-preview-4bd911df-f290-4753-bdec-a83bc8709eb6
           ○   https://support.microsoft.com/en-us/topic/july-12-2022-kb5015807-os-builds-19042-18
               26-19043-1826-and-19044-1826-8c8ea8fe-ec83-467d-86fb-a2f48a85eb41
           ○   https://docs.microsoft.com/en-us/windows/security/identity-protection/user-account-c
               ontrol/how-user-account-control-works
           ○   https://www.virustotal.com/gui/file/2abae185fc87476e00e45c7d3a171a4a2c0a57d714
               b03608dc566c988ca6ee48/detection
           ○   https://www.virustotal.com/gui/file/f2c08cec764e85a42888250cf79747c47b3a7614199
               f2b4cba98b8745bb7749c/detection
           ○   https://kotaku.com/diablo-immortal-p2w-pvp-broken-blizzard-rite-exile-1849355846,
               titled: “Diablo Immortal Player Says He Can’t Get A Match After Spending $100,000.”


Qualifications
   5. I am the Director of Threat Investigations of Unit 221B, a cybersecurity firm contracted by Bungie
      to investigate cheats and their developers.
   6. Until my present appointment, which began August 1, 2022, I had been employed by Unit 221B
      beginning in 2020 as a Cybersecurity Analyst. From January 2022 until August 1, 2022, I served
      as the Lead Project Engineer for Networking Testing and Development and as a Senior
      Investigator within the Investigations division. From August 1, 2022 until September 1, 2022, I
      served as he Tactical Operations Manager for the Investigations, Network Testing, and
      Development branches of Unit 221B.
   7. As part of my responsibilities for Unit 221B, I lead and conduct investigations into fraud, abuse,
      and other cybercrime; conduct and lead vulnerability assessments and penetration tests; and
      spearhead internal development of new software offerings.
   8. I hold a Bachelor’s of Science in Software Engineering from Kennesaw State University.




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   9. I have personally played countless hours of video games. I had been a player of Bungie’s Destiny
       2 prior to my initial hiring by Unit 221B and continue to play Destiny 2 in my personal time, with
       over 2000 hours of active play time currently applied to my account.
   10. Through my experience and education, I am familiar with video game design, infrastructure, and
       play.


Compensation
   11. I am being compensated for my time at a rate of $750 per hour for time expended reviewing this
       matter and for providing testimony or other opinions. My compensation in no way depends on
       the outcome of this opposition.



Summary of Opinions
   12. Bungie’s Destiny 2 is a first-person looter shooter massively multiplayer online game, extensively
       marketed through social media and other online mechanisms. Bungie actively participates in
       their player community through designated Community Managers, company-hosted streams,
       and other player outreach activities.
   13. Destiny 2 is frequently the subject of organic social media advertising by fans of the game and
       content creators, generally streamers, whose positive statements and feelings on the game
       provide incentive for more gamers to choose to play Destiny 2.
   14. Destiny 2 is a live-service game, following the “Software as a Service” model. New content
       expansions and cosmetic upgrades are made available for purchase at regular intervals following
       the initial release of the game to allow for greater player investment and continued interest. This
       “microtransaction” model, common to many modern video games, relies upon this player
       investment and interest for continued revenue from the game; and requires significant ongoing
       investment by the studio to maintain.
   15. Bungie has a security commitment to its players to provide a fair and balanced game
       environment where the success of a player is defined by the investment of their time and effort
       on skill-building and gameplay.
   16. The presence of cheaters within this environment damages Bungie, poisons the well for players
       and content creators, and creates an unsustainable and unsafe environment for legitimate
       players. People who have invested their time, effort, and money into the game will be prevented
       from completing in-game goals and activities by the presence of these cheaters, driving down
       player engagement, new player acquisition, and long-term player retention.
   17. Modern cheats for live-service games are also dangerous to the user. Installation instructions
       provided by cheat developers instruct users to perform unsafe and ill-informed configuration
       changes to their devices that immediately put them at higher risk of malware infection or data
       theft. Continued operation of a cheat exposes users to this risk whenever the cheat is run.
   18. The AimJunkies Destiny 2 cheat appears to interact with the Destiny 2 game client in
       unauthorized ways.


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    19. The AimJunkies Destiny 2 cheat provides cheaters with unfair competitive advantages against
        their fellow players in both competitive and cooperative gameplay. The continuing presence of
        such cheaters in a game environment creates negative feedback loops that discourage
        communication between players and game developers, disincentivizes digital content creators
        from featuring the game, and drives legitimate current and prospective players away from the
        game entirely – all of which cause harm to Bungie.



Background & Opinions

Background

General Definitions and Categorization
    20. On a broad level, a video game can be defined as “any of various interactive games played using
        a specialized electronic gaming device or a computer or mobile device and a television or other
        display screen, along with a means to control graphic images.” 1
    21. In a more colloquial sense, a video game may be thought of as any form of interactive
        entertainment operated via technology – most commonly a personal computer, specific gaming
        console such as Sony’s Playstation or Microsoft’s XBox, or through a smartphone. The interactive
        nature of the entertainment is what truly defines a video game. This interaction distinguishes
        video games from traditional entertainment forms such as film and music, which are absorbed
        more or less passively.
    22. The video game industry in the United States has rapidly become the most profitable
        entertainment industry, far outstripping both the film, music, and professional sporting
        industries in terms of profit. Even in 1982, the arcade video game industry made $8 billion, more
        than the revenues of pop music ($4 billion) and Hollywood films ($3 billion).2 The industry has
        only grown since 1982; during 2020, the video game industry reported revenues surpassing the
        combined revenues of the film industry and North American professional sports.3 73% of
        Americans reported playing a video game of some variety in 2021.4
    23. The broad category of video games may be subdivided into a variety of genres. Genres are based
        on gameplay elements, settings, or basic structural models that follow accepted standards of
        game play and style. These genres themselves may be further subdivided into more specific
        categories. For the purposes of this report, only genres and categories that apply to Bungie’s
        Destiny 2 are defined here.


1
 https://www.dictionary.com/browse/video-game
2
 Rogers, Everett M.; Larsen, Judith K., Silicon Valley Fever: Growth of High-technology Culture, 1985.
3
 https://www.marketwatch.com/story/videogames-are-a-bigger-industry-than-sports-and-movies-combined-thanks-to-the-pan
demic-11608654990
4
 https://www.statista.com/statistics/499703/share-consumers-ever-play-video-games-by-age-usa/, Vorhaus Digital Strategy
Study 2022, p. 91


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    24. Destiny 2 may be categorized as a “first-person shooter” (FPS), a “massively multiplayer online”
        (MMO) game and a “looter shooter.”
    25. In a “first-person shooter”5 (FPS), the player experiences the game environment from the
        first-person perspective; that is, through the eyes of their in-game character. Gameplay heavily
        features the use of virtual guns or other weapons as the primary method of play. Success within
        the game environment is defined by survival in simulated combat, either against
        computer-controlled enemies or against other players.
    26. A “massively multiplayer online”6 (MMO) game is defined as “any online video game in which a
        player interacts with a large number of other players.” MMOs generally require connection to a
        remote server for game operation. Social interactions and other community-driven features are
        often key components of an MMO game. Players may join together to form defined in-game
        groups, defined in Destiny 2 as “clans.” They find other players for cooperative or competitive
        play through “looking for group” (LFG) and matchmaking features.
    27. Based on their specific styles of gameplay, or the “gameplay loop,” FPS games may be then
        further subdivided into more specific categories. Destiny 2 is termed a “looter shooter.” One of
        the primary goals of Destiny 2 players is the acquisition of new in-game items, most commonly
        weapons and armor. Within the Destiny 2 environment, such items are subject to randomization
        of various attributes that may dramatically increase the item’s effectiveness or value to the
        player. As a result, the pursuit of “loot,” often by repeating activities over long periods of time,
        forms a core component of Destiny 2 gameplay. The fact that “loot” is given to players as a
        reward for completion of gameplay objectives (“shooting”), is what defines Destiny 2 as a “looter
        shooter.”
    28. With these definitions in mind, Destiny 2 may be described as a “first-person looter shooter
        massively multiplayer online game.” Players control their in-game characters from a first-person
        perspective while completing objectives, frequently based in combat, to gain loot, often with
        real-world friends or new social connections made during the course of Destiny 2 gameplay.
        Players are given multiple options to compete against other players in player vs. player activities.


Genre & Destiny 2 Specific Terminology
    29. While the above definitions and classifications may serve to give a broad overview of Bungie’s
        Destiny 2, this report will make use of multiple genre-specific and game-specific terminology
        beyond the scope of the definitions above. These terms are defined below for clarity.
    30. MMO games such as Destiny 2 provide features that may be broadly divided into two categories:
        “player vs. environment” or “PvE” activities, and “player vs. player,” or “PvP” activities. Players
        complete these activities using their “player character.”
    31. A “player character” is the model through which the player interacts with the game world. In
        Destiny 2 and its player community, a player character is also referred to as a “Guardian,” the
        term used within the narrative of the game to describe players. I will refer to player characters in


5
https://www.dictionary.com/browse/first-person-shooter
6
https://www.dictionary.com/browse/mmo


                                                                                                           6




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       Destiny 2 using their in-game name, “Guardians.” An image from Destiny 2 of a Guardian is
       shown below.




   32. These player characters are distinct from “non-player characters,” or “NPCs.” The term NPC
       generally refers to any computer-controlled entity within a video game. Colloquially, NPCs more
       specifically refer to characters who interact with the player in some capacity. A NPC in a game
       may be an ally who assists the player, may assign the player activities, or may be an enemy of the
       player.
   33. In “player vs. environment,” or “PvE” activities, players fight either individually or cooperatively
       against NPCs. The primary gameplay loops of Destiny 2 may be classified as PvE activities.
   34. In “player vs. player,” or “PvP” activities, players engage other players as opposed to NPCs. PvP
       activities may feature players competing to complete a specific goal – often point-based and
       defined in-game – or else engaging in direct competitive combat with one another. This variety
       of gameplay, taking place in an in-game arena of some variety in a “match,” involves shooting the
       Guardians of other players to do “damage,” a value defined by the gun a character is shooting
       and the player’s accuracy. Once a player has been dealt a certain amount of damage, they are
       defeated and removed from the arena. Defeating another player typically awards points. Destiny
       2 offers PvP activities for both 6 and 12 players at a time, split into equal teams.
   35. The use of the term “map” in the context of this report should be understood to refer to the 3D
       landscape used as the setting for a game’s action. In a PvP match, the map refers to the entire
       arena used for that match. For example, “from across the map” typically refers to an action that
       has occurred across a substantial distance. The ability to “see through the map” refers to an
       ability—provided by the AimJunkies Destiny 2 cheat—to see through walls or other obstacles
       that would typically block a player’s line of sight.
   36. As players use the in-game weapons of a video game, they frequently have the ability to better
       aim their weapon by using that weapon’s simulated sights. This ability, known as
       “aim-down-sights,” or “ADS,” refers to a player zooming in with their weapon as though looking
       down weapon sights or a scope. The camera will zoom in to provide a larger target and afford a
       player increased weapon accuracy. Examples of views showing a weapon without ADS (on the
       left) and with ADS (on the right) are shown below.


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   37. One of the most common features of FPS games such as Destiny 2 is the inclusion of a common
       weak spot on enemies encountered by the player, including other players during PvP activities.
       As this weak spot is generally a target’s head, a critical hit on such a spot is commonly referred to
       as a “headshot” by players, even if this weak spot is located elsewhere on an enemy’s body.
       Within Destiny 2, some in-game weapons are capable of defeating an opposing player in a PvP
       match with a single headshot.
   38. A “heads-up display,” or “HUD,” refers to graphical elements within the game that provide
       information to the player. A HUD typically includes information about a player’s current health,
       equipped weapons and their remaining ammunition, an overview of their current ability status,
       or any other data deemed relevant by the developers of the game.
   39. The HUD of a Destiny 2 player also includes a “radar,” a graphical element that grants a player
       information about the locations of other Guardians or NPC enemies, even if the player cannot
       directly see them. The radar available to players in Destiny 2 does not provide the exact locations
       of other players or NPCs, but rather their general direction and distance relative to the player’s
       Guardian. A screenshot showing the standard HUD from Destiny 2 is shown below, with circles
       drawn around some of the elements described in paragraphs 38-39.




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Game Devices and Digital Download
    40. Modern video game players have a wide variety of options when choosing a technological
        method, or “platform,” on which to play their games. Platforms fall into three broad categories:
        personal computers (PCs), dedicated game consoles (“consoles”), and mobile devices. Bungie’s
        Destiny 2 is available to players on PCs and consoles.
    41. In this report, a PC refers to a desktop or laptop computer running the Windows operating
        system. As there are significant structural differences between the Windows operating system
        published by Microsoft, the macOS published by Apple for their Mac computers, and versions of
        the open-source Linux operating system, Mac and Linux computers are commonly considered a
        separate category from Windows-based PCs. For the purposes of this report, the term “PC”
        should be understood as a personal computer running the Windows operating system.
    42. Consoles may be defined as “computer systems specially made for playing video games that are
        connected to televisions or other displays for video and sound.”7 Consoles are purpose-built in
        order to provide players with a computer powerful enough to run modern games easily.
        Consoles generally feature an operating system unique to that family of devices, allowing
        software to be optimized by a variety of developers. Commonly owned consoles include
        Microsoft’s Xbox, Sony’s Playstation, Nintendo’s Switch, or Google’s Stadia. Destiny 2 is available
        on the Xbox, Playstation, and Stadia.
    43. The vast majority of modern games are delivered to consumers via digital download; many
        games no longer offer any variety of hardware-based (i.e. CD-ROM or DVD) installation
        mechanism. As of 2013, digital downloads accounted for more than half of all video games sold;
        as of 2018, over 80% of purchased games were provided to customers via digital download.8
        Files required for game operation are downloaded and stored directly on a consumer’s device,
        allowing for faster updates from developers, clearer communication between devices and game
        servers, and lower costs for developers. Purchases for these digital downloads are handled
        through a variety of marketplaces services depending on the platform.


Technical Terms
    44. While full definitions of every technical aspect of video games and client/server interactions are
        beyond the scope of this report, I will refer to several key concepts which are briefly defined as
        follows.
    45. An “instance” is a “zone to which access is limited to a player or group of players entering
        simultaneously and working together. Each instance is one copy of the zone in which the quests,
        enemies, items, events, etc are staged exclusively for the player or group accessing it, without
        interference from other player characters in the large online population of the game.”9 For
        example, when players compete in PvP matches against one another they may be said to be
        within an instance. Players may not randomly join the match, and the instance’s isolation
        prevents players not involved in the map from influencing it.
7
 https://www.dictionary.com/browse/game--console
8
 https://www.statista.com/statistics/190225/digital-and-physical-game-sales-in-the-us-since-2009/
9
 https://www.dictionary.com/browse/instance


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     46. The “game client,” or, simply, the “client,” refers to the locally stored and executed version of a
         game used by players to interact with the game world. In the case of Bungie’s Destiny 2, along
         with the overwhelming majority of modern video games, the client is digitally downloaded and
         stored on a user’s file system until loaded into memory for use.
     47. “Game servers,” or, simply, “servers,” refers to the specialized networking devices used by the
         game developers to connect players to shared, multiplayer instances, facilitated by their game
         client. Servers provide information about the environment to players. Each game client reports
         the player’s actions to the server, and the server updates all players with the results of those
         actions.
     48. The “game state” refers to the positions and statuses of all game pieces and environmental
         features at any given time. In Destiny 2, the positions of each player, their velocity and trajectory,
         the direction they are facing, and their health are just some of the elements that comprise the
         game state. The server coordinates changes to the game state and communicates those changes
         to a player’s client.
     49. The protocols used by clients and servers to update and communicate this game state data may
         collectively be referred to as “netcode.” This includes procedures for reconciling differences in
         game state as reported by different clients. Colloquially, players use netcode as an umbrella term
         for the overall consistency and responsiveness of the gameplay experience while playing online.


Importance of Viral Marketing
     50. The use of social media for advertising and marketing represents one of the fastest growing and
         most powerful tools available to companies. The International Trade Administration of the U.S.
         Department of Commerce forecast a growth rate of 18.1% per year through 2026 for the global
         social media advertising segment.10
     51. Recognizing its value, Bungie makes extensive first-party use of social media and viral marketing
         to promote Destiny 2. Reliance on social media and viral marketing is a widespread industry
         practice, but Bungie makes particularly effective use of these outlets. While Bungie maintains a
         footprint on all major social media platforms, including Facebook11 and Instagram,12 their
         strongest presence appears on Twitter and Reddit. On Twitter alone, Bungie operates a
         corporate account,13 a Destiny 2-specific account,14 and a third account solely for providing
         technical updates and support for the Destiny game environments.15
     52. In addition to these first-party accounts, Bungie employs specific personnel known as
         Community Managers16 to interact with the Destiny community through repurposed personal
         accounts. These Community Managers write blog posts distributed through social media,


10
  https://www.trade.gov/ecommerce-frontline-social-media-forecast
11
  https://www.facebook.com/Bungie/
12
  https://www.instagram.com/bungie/?hl=en
13
  https://twitter.com/Bungie, 2.8 million followers
14
  https://twitter.com/DestinyTheGame, 2.7 million followers
15
  https://twitter.com/BungieHelp, 1 million followers
16
  https://www.indeed.com/hire/job-description/community-manager


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         respond to community concerns and statements, and generally act as liaisons between game
         developers and the fans of their game.
     53. This kind of first-party social media marketing allows Bungie and other companies like it to
         interact directly with and promote content creators, influencers, and other members of their
         gaming communities. These interactions in turn provide players with a feeling of ownership and
         personal investment in the game, allowing them to feel seen by the developers, including
         Bungie, in a way unique to social media marketing.
     54. Content creators and influencers who find satisfaction in these interactions provide
         immeasurable value to companies by continuing to produce content about the game. This
         content keeps discussion of the game in the public eye, recruits new players, encourages lapsed
         users to resume playing, and creates further connections to the game for active players through
         deepened interactions with these streamers. The most influential streamers for Destiny 2 list
         over one million YouTube or Twitch.tv subscribers. Particularly popular videos or content may
         have an even broader reach.
     55. While no concrete metrics exist to evaluate the value of such marketing, Bungie very clearly
         displays a great deal of skill and interest in promoting these creators and fostering an active
         streamer community. A perfect example of this may be seen in Bungie’s biannual World First Day
         One Race event,17 in which a new six-player activity known as a “raid” is released into the game
         for the first time. The first team of six players to complete this activity within the first 24 hours of
         release are promoted heavily by Bungie through their social media arms, the winning team
         receives a variety of physical prizes, and other players who achieve a day one completion can
         earn coveted in-game rewards.
     56. The success of this positive feedback loop between developers, fans, and content creators over
         social media is contingent upon the health of the game environment and positive player feelings
         toward the game. Strong player feedback and a tightly-knit community encourage content
         creators to continue promoting the game, which in turn encourages developers to take a more
         active role in community engagement and involvement. This creates a sense of positive
         ownership for fans, and the cycle continues. When negative third-party elements invade this
         space – when players encounter cheaters acting independently of the game developers, for
         example – the well is poisoned, and the feedback loop degrades. Angry fans are less likely to play
         the game, and developers are less likely to interact with the increasingly negative feedback.
         Interest in game content diminishes, and content creators feel less incentive to continue.


Game Ecosystem Investment

Game Setting and Suspension of Disbelief
     57. While video games are by definition an interactive experience, they share many of the same
         conceits and structural concerns as other narratives. The effectiveness of the game turns on the
         concept of suspension of disbelief, “the concept that to become emotionally involved in a

17
 https://www.youtube.com/watch?v=WiAd15wfVRo


                                                                                                              11




                                                BX125.012
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         narrative, audiences must react as if the characters are real and the events are happening now,
         even though they know it is ‘only a story.’”18 Films, literature, and art rely upon this suspension
         of disbelief to engage consumers; viewers who feel the world is real and alive are much more
         likely to remain invested. Successfully evoking suspension of disbelief is the sign of a compelling
         narrative or idea that consumers will continue to seek out.
     58. In the interactive medium of a video game, the suspension of disbelief takes on an even greater
         importance for developers. Players who feel as if they are part of a dynamic world in which they
         have agency tend to invest more money and time in the game.
     59. Video game developers therefore take pains to design and implement varied and detailed
         environments within the game in an effort to enhance the suspension of disbelief. These
         environments are often woven into the game’s larger narrative in ways that resemble classical
         literary techniques in order to strengthen the perception that the player is part of a living world
         in which their choices carry weight.
     60. To this end, video games may be set in nearly any genre or variety of location. Destiny 2, a work
         of science fiction, takes place centuries in the future in various locations across the solar system.
         Players are pitted against extraterrestrial enemies in the corridors of space ships, the ruins of
         Earth cities, or on an icy moon of Jupiter. Destiny 2 Guardians, created by players as their
         in-game avatars, are immortal warriors of peerless combat prowess.


Long Term Player Investment
     61. Suspension of disbelief through compelling narrative and well-designed environments is a useful
         tool for solidifying a player’s emotional and financial investment. Yet while positive investment
         during a game’s release cycle can build early awareness and consumer excitement about future
         property, this excitement will only last so long without additional investment. Players and video
         game media outlets quickly move to the next offering as the initial excitement fades.
     62. The issue of long-term investment is increasingly addressed by adopting a responsive
         software-as-a-service model (SaaS), particularly by developers of MMO games like Destiny 2.
     63. Games designed using this model are considered to be “living games.” Very few elements are
         wholly static. Instead, they may be updated, expanded on, or removed by game developers for a
         variety of reasons. SaaS games receive frequent updates, or “patches,” from developers. These
         may increase the game’s stability or change its mechanics, improvements frequently referred to
         as “balancing.” For example, the amount of damage a gun does to an enemy may be reduced or
         increased based on gameplay performance. The health of an enemy may be increased to add
         difficulty to the game experience. Bugs within the game may be resolved to increase the game’s
         general stability.
     64. The most basic versions of many SaaS games, including Destiny 2, are increasingly offered to
         consumers for free in an effort to draw in new customers. Known as “free-to-play,” (FtP), this
         model allows players access to basic features or to an introductory storyline of a game in the
         hope that the player, after experiencing the game’s core offering, will pay for additional content.


18
 https://www.oxfordreference.com/view/10.1093/oi/authority.20110803100544310


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     65. Additional content not included with the original or “base” version of a game may be offered at
         any point within the game’s life cycle. Some of this content may be offered as free additions, but
         additional content more commonly requires a user purchase. Large expansions to the game’s
         mechanics, items, and environments may be offered to players as “expansion packs” or
         “downloadable content” (DLC). The prices for this content vary depending on the developer and
         level of change to the game itself.
     66. Destiny 2 is free to play, but offers multiple content expansion packs to players for purchase.
         While the new features of a paid expansion may only be available to players that have purchased
         the upgrade, they do not usually offer a competitive advantage, or do so only in carefully
         considered ways. The reasoning for this is explained below in the “Competition and Fairness”
         section of this report.
     67. FtP and SaaS model games generally employ release cycles of varying lengths for regular content
         upgrades, referred to as a “seasonal model.” Large changes and updates are made on a regular
         schedule to encourage players to come back to the game over longer intervals. Destiny 2 uses a
         seasonal model, with content typically being refreshed within the game every three months,
         with individual narrative story “beats” that become accessible on a week-by-week basis.
     68. In a Destiny 2 season, players are delivered a new narrative experience, multiple new activities,
         new items to earn, and, typically, an expansion of features or functionality. This cycle is designed
         to encourage a positive, shared narrative experience for all active players, to encourage players
         to continue or resume play, and potentially to spend more money at more frequent intervals. As
         with the content expansion packages, these features do not generally offer competitive
         advantages to the players who purchase them.

Microtransactions and Cosmetic Purchases
     69. In addition to the release of DLC and seasonal content, Destiny 2 also offers players an in-game
         store where, for additional cost, players may purchase cosmetic changes (“cosmetics” or
         “ornaments”) for their characters’ armor, weapons, tools, and vehicles. Each ornament is offered
         for a low one-time cost to players, a business model known as “microtransactions.”19 The
         concept of this business model is clear; rather than relying on new sales of the game, players are
         given further opportunities to spend incremental amounts on an at-whim basis.
     70. Almost universally, these microtransactions are made within the game environment itself with a
         “premium currency” separate from the usual items and currencies of the game. While this
         currency may be earned in-game in some cases, its “premium” status derives from its ability to
         be purchased with real-world money. Cosmetic microtransactions within the game are listed in
         this currency, which may be purchased by players in packs of varying sizes and prices. Discounts
         are generally offered to players who purchase more premium currency in a single transaction.
     71. Bungie’s Destiny 2 uses the premium currency “Reef Silver,” or, simply, “Silver.” Within Destiny 2,
         Silver is only obtainable by purchasing packs of the currency from the relevant platform store.
         For example, on the Steam platform for PC, Destiny 2 has the following Silver packs available for
         player purchase:

19
 https://www.jstor.org/stable/j.ctv1hp5hqw.13


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   72. After purchasing one of these packs, the amount immediately becomes available in that player’s
       in-game account balance. As seen in the image below, taken from the in-game Destiny 2 store,
       the premium currency can be redeemed in-game to obtain levels, cosmetic ornaments, or other
       player items or attributes.




   73. Players within Destiny 2 are offered a variety of cosmetic microtransactions for purchase, with
       new cosmetics being added to the in-game store on a regular basis. These cosmetic offerings
       encourage players to routinely purchase bundles of the in-game premium currency and provides
       the developers a consistent revenue stream beyond the initial release of a game, which in turn



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         funds the continued development of compelling content that encourages players to invest more
         deeply in the game. Players who make these purchases tend to be more loyal to the game, to
         feel pride and a sense of ownership over their well-appointed avatar, and have a continued
         desire to engage with the game’s ongoing narrative and community of other players.


Security Relationships
     74. In multiplayer games that offer competitive play against other players (PvP play), video game
         developers have a clear interest in promoting fairness within the game.
     75. In the context of PvP play, fairness may be thought of as supplying a level starting position for all
         players. No player should be seen to have an immediate advantage over another because they
         have spent more money. Such games develop a reputation as “pay-to-win” games, where players
         who have spent more real-world money have an overwhelming advantage over those who have
         not. In Destiny 2, select abilities and exotic weapons are locked behind purchase of expansions,
         but their efficacy is balanced to avoid creating a “pay-to-win” environment.
     76. Competitive games strive to avoid a “pay-to-win” impression, as these games tend to drive
         players away from the game environment. Only a small subset of players will have resources to
         buy every upgrade, meaning that the average player competing against them will always be at a
         disadvantage.20 In a race between a high performance sports car and a family minivan, the sports
         car clearly has every advantage over the minivan, and will almost certainly win the race. Why
         would the driver of the minivan agree to the race in the first place? This is why developers are
         careful not to include goods that confer competitive advantages in upgrade packages.
     77. Game developers have a clear incentive then to provide each player within a multiplayer
         environment a level playing field independent of that player’s financial commitment. There is an
         implicit understanding between developer and player that the developer will create, promote,
         and maintain the idea that a player’s skill is what defines their competitive success, not the
         money they have paid.
     78. Competitive video games, including Destiny 2, enforce this principle in the agreements each user
         must sign, typically referred to as an end-user license agreement (EULA), limited software license
         agreement (LSLA), or terms of service (ToS). The Destiny 2 LSLA itself states that users may not
         “hack or modify the Program, or create, develop, modify, distribute, or use any unauthorized
         software programs to gain advantage in any online or multiplayer game modes.”21 The document
         further notes that violation of any of its clauses entitles Bungie to suspend or ban the account
         found to be in violation of the ToS, and to take any further remedies available and deemed
         appropriate.




20
  https://kotaku.com/diablo-immortal-p2w-pvp-broken-blizzard-rite-exile-1849355846, titled: “Diablo Immortal Player Says He
Can’t Get A Match After Spending $100,000.”
21
  https://www.bungie.net/7/en/legal/sla


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Cheating in Video Games
   79. Cheats for live-service online multiplayer games, like Destiny 2, are developed by third-party
       actors, like Aimjunkies, who intend to profit by offering users of the cheat unfair and
       unauthorized advantages in a video game.
   80. Cheats sold by AimJunkies and similar agents constitute unauthorized third-party manipulation
       and/or copying of a video game company’s software that circumvents’ the video game
       company’s protection measures designed to prevent that manipulation or copying (and is
       advertised to do so), introducing features that are not foreseen by the games’ developers, and
       are detrimental to the game as a whole.
   81. Cheats for live-service online multiplayer games are generally only accessible to paying
       customers of the cheat developer or distributor, and often require a monetary subscription to
       their provider for continued functionality.
   82. Cheats for live-service online multiplayer games are frequently intended for use within a shared
       online environment with potentially thousands of other players.
   83. Cheats for live-service online multiplayer games are frequently advertised using highlight videos
       of the cheat in action against unsuspecting players of the game.
   84. Cheats for live-service online multiplayer games, including the AimJunkies cheat, typically
       require users to disable system security protections. These protections are there to prevent
       malicious programs from accessing core operating system components that can be used to take
       over a system. Software installation does not normally require the disabling or removal of such
       protections. However, as the cheat must inject itself into low-level system processes to
       circumvent anti-cheat measures, both native and third-party antivirus software frequently blocks
       the cheat from download or installation. When users disable these protections in order to cheat,
       they also render their computers susceptible to cyberattacks. If a cheat developer decides to use
       their access for their own ends, consumers will not have standard protections in place. Almost
       universally, cheat installation instructions instruct users not just to disable, but to remove
       entirely any installed antivirus software from their computer. Native features such as Microsoft’s
       Windows Defender must be disabled from an administrator account. All firewalls must be
       uninstalled and removed entirely, or else disabled from an administrator account. Users must
       enter their computer’s BIOS, the most basic and essential firmware typically packaged with their
       motherboard, and disable key stability and security features.
   85. As a result, modern cheats are frequently flagged by antivirus software and threat intelligence
       vendors as malware. While the cheat itself may not execute ransomware or steal a user’s data,
       simply installing it according to the cheat developer’s instructions opens the user’s computer to
       the possibility of immediate and catastrophic attack.




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The Anatomy of a Modern Cheat

Relevant Terminology
      86. The success of modern cheats is a function of the quality and quantity of features they offer
          potential customers. Often, these features are described with slang, jargon, and acronyms that
          do not provide any information about how they actually work. Some cheat features and their
          functionality are described below.
      87. One of the most common features sold by cheat developers is the classic “aimbot.” This cheat
          functionality automates the movements of a player’s Guardian as they attempt to aim their
          weapon at a specific target. An aimbot is typically configured to snap to an opponent’s head
          when the player goes into ADS. The cheat confers perfect accuracy on the Guardian, giving them
          the ability to score headshots with every shot to rapidly eliminate opponents.
      88. A wide range of cheat functionality may be defined under the category “extrasensory
          perception,” or “ESP.” ESP functionalities provide data to the cheating player about the game
          state that would normally be hidden to them, such as the locations of other players behind walls,
          the state of another player’s health, or the status of their abilities.
      89. The most common ESP feature built into modern cheats is the “wallhack,” the ability to see
          through opaque objects such as walls. Cheats will typically highlight another player’s Guardian’s
          exact location when line-of-sight is obstructed. Wallhacks is also used as a generic slang term for
          the ability to see through the map. While some games, including Destiny 2, grant this ability to
          players under certain constraints, a cheat wallhack grants this information without the
          conditions, limitations, or structures imposed by the game’s developers.
      90. The image below, taken from an AimJunkies promotional video for their Destiny 2 cheat,
          demonstrates this functionality well.22 In the image below, although the NPC enemies should be
          obscured from the view of the player by pillars and other objects, the AimJunkies cheat identifies
          the location of the enemies by highlighting their locations using yellow boxes.




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     BUNGIE_WDWA_0000469


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      91. With these definitions in mind, a general description of the technical operations of a modern
          cheat may be provided. This description must begin with several caveats, however.
      92. I have personally participated in the acquisition, review, and analysis of multiple cheats for
          Destiny 2 throughout the course of my work. This includes de-compilation, or unpacking, of
          cheat executables for code analysis and potential reverse engineering.
      93. While I have examined other cheats for Destiny 2, it does not at present appear to be possible to
          directly examine the Destiny 2 cheat produced and sold by AimJunkies and my understanding is
          that the Respondents in this arbitration have not produced a copy of the cheat.
      94. However, I have reviewed and analyzed footage of the AimJunkies Destiny 2 cheat in operation in
          promotional videos that I understand were captured and archived for the purpose of this
          arbitration.
      95. Because of the apparent functionality of the cheat itself represented in cheat footage, and the
          similarity of the AimJunkies cheat loader to comparable cheats, I am able to make reasonable
          inferences about its operation.


Cheat Loader Download and Installation
      96. Cheats for Destiny 2 are distributed by means of a specialized program called a “loader.” The
           loader is a program that authenticates the cheat user, validates their purchased license,
           downloads the cheat itself, and injects that cheat into Microsoft Windows system libraries
           and/or into the game client module.
      97. For the AimJunkies Destiny 2 cheat, this loader is first downloaded by a user immediately after
           the purchase of a cheat from the AimJunkies website. The loader represents a serious threat to
           users who follow AimJunkies’ instructions.
      98. After purchasing an AimJunkies cheat and downloading the loader, AimJunkies provides the
           cheat user a how-to guide for installation23 through their forums. These instructions direct the
           user to perform several highly unsafe actions on their PC – actions that any reasonable person
           should immediately reject. Samples of these instructions were taken from the AimJunkies
           website in early September 2022 and are provided below.
      99. The process described in these instructions is potentially highly dangerous to the user as it
           involves disabling or creating exceptions in antivirus and firewall services, disabling Windows
           security controls, and granting the loader full administrative rights to the user’s device. A user
           following these instructions potentially opens themselves to ransomware, data theft or loss, and
           any manner of cyberattack.
      100. In their installation instructions, AimJunkies’ users are directed to disable the User Account
           Control (UAC)24 features also packaged with all current Windows operating systems. UAC
           features prompt the user for confirmation before any major changes may be made to the
           settings, configurations, or installed applications of an operating system. As a result, UAC

23
    https://forum.aimjunkies[.]com/f139/read-thread-just-bought-cheat-134981/
24
    https://docs.microsoft.com/en-us/windows/security/identity-protection/user-account-control/how-user-account-control-work
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          features function as a strong defense against malware infection. Disabling UAC allows any
          program, including, for instance, the AimJunkies Destiny 2 cheat, to make administrative changes
          to the device – and to do it without the user’s knowledge.




     101. In the final step of the loader installation instructions, AimJunkies provides a note about
          third-party software that says, “AimJunkies only supports using Windows Defender/Firewall.”
          Since what the user has actually done is manually created exceptions for the Aimjunkies loader
          through these services, a more accurate statement would be, “AimJunkies only provides
          instructions for evading Windows Defender/Firewall.” AimJunkies then provides a list of
          third-party security software that “have caused known issues with our loader/cheat, please
          disable or uninstall them if you run into issues using the loader/cheat.” This list includes several
          major security software vendors as well as anti-cheat software used by game developers.




     102. On September 15, 2022, I performed static analysis on the AimJunkies cheat loader. I acquired
          the loader from their website as a compressed .zip archive and used the industry standard
          malware analysis platform VirusTotal for the analysis.25 The archive contains two files: a .cfg
          configuration file used to define settings and other variables for installation, and a .exe portable
          executable file, which appears to be the AimJunkies loader itself. The archive in its compressed
          form and the two files it contains were each analyzed independently. Note that this loader is not
          the same thing as the cheat software specific to Destiny 2, and the functionality of the loader


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 https://www.virustotal.com/


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          appears limited to facilitating the operation of game-specific cheat software modules on a user’s
          computer.
     103. Static malware analysis examines suspect resources, in this case the .zip archive, the .exe, and
          the .cfg configuration file, in their at-rest state. Programs are not executed, and no installation
          occurs. The general behavior and characteristics of the file may be gathered in this analysis, as
          well as limited data about functionality and system interaction based on code decompilation.
     104. Dynamic malware analysis involves executing the suspect resource and observing the resulting
          behavior. Dynamic malware analysis is typically conducted using debugging, monitoring, and
          logging tools to monitor system-wide effects of any executed malware.
     105. One of the major strengths of the VirusTotal platform is its aggregation of analysis and
          assessments of potential threats from a wide range of vendors, including Microsoft, Google,
          Malwarebytes, Bitdefender, and many others. This aggregation helps avoid false positives
          potentially given by a single service or tool, and provides a more comprehensive understanding
          of the potential threats posed by an inspected resource.
     106. The compressed .zip archive used to download the loader from the AimJunkies website is
          flagged as potential malware by 22 vendors.26




     107. The AimJunkies loader executable stored within this archive is flagged as potential malware by
          31 vendors.27




26
 https://www.virustotal.com/gui/file/2abae185fc87476e00e45c7d3a171a4a2c0a57d714b03608dc566c988ca6ee48/detection
27
 https://www.virustotal.com/gui/file/f2c08cec764e85a42888250cf79747c47b3a7614199f2b4cba98b8745bb7749c/detection


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  108. The configuration file stored within the downloaded archive did not independently receive any
       flags as potential malware.
  109. Detections by these vendors do not conclusively indicate that the analyzed resource is or is not
       malware. Detection criteria are specific to the vendor providing the detection, but commonly
       involve decompilation of submitted resources for static analysis as well as execution of resources
       where possible for dynamic analysis. From this combination of analysis methods, the behavior of
       a potential piece of malware may be observed and classified.
  110. Therefore, while the VirusTotal detections do not definitively identify the AimJunkies loader as
       traditional malware, they do clearly show that the way the loader behaves when it is active on a
       user’s device is very similar to the behavior of traditional malware, and may be used to facilitate
       the installation and operation of malware. These detections are also the probable reason for
       AimJunkies’ instructions to add exceptions to or disable security features in advance of loader
       installation. Leaving these features untouched would almost certainly result in the downloaded
       .zip archive and the loader inside it to be quarantined and removed from the device.
  111. Finally, even if the AimJunkies loader itself is not malware, and does not directly harm a user or
       their device, it represents a clear and present danger to the user the moment it is successfully
       downloaded and installed – even on a USB flash drive, as AimJunkies suggests. Installing the
       Aimjunkies software according to the vendor’s instructions immediately leaves the user’s
       computer vulnerable to infection by viruses, trojans, and ransomware. In a potential worst-case
       scenario, the cheat publishers themselves would be able to gain full administrative access to a
       user’s computer with trivial effort.



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General Cheat Operation
  112. Microsoft Windows has a set of core libraries that contain the code for the basic actions the
       operating system may perform. For example, a system library can contain the functions that read
       from a file, that register mouse or keyboard input, or that send data over the network. One way
       for cheat software to function requires the cheat process to inject itself , or “hook,” into one of
       these basic actions. When the Destiny 2 game client attempts to perform a modified system
       action, it causes the installed cheat to execute as well. Cheat loaders need to be run with
       administrative access in order to hook into system libraries. Another way for cheat software to
       function is for the cheat process to inject itself or to “hook” into the game client process. Video
       game developers use numerous techniques to block the manipulation of system core libraries,
       and cheat software must circumvent those protections in order for the cheat software to
       function.
  113. The Destiny 2 program resides on disk before it executes. When launched by the user, the
       program then copies itself into memory. Each program has its own designated space in memory,
       and programs typically cannot access the memory space of another program. However, system
       libraries are considered to be trusted, and, because the injected cheat is hooked to an action in
       the system library, it, too, gains access to the Destiny 2 disk space. When the Destiny 2 client
       program calls the function that the cheat is hooked to, the cheat executes with the ability to read
       and modify Destiny 2 memory.
  114. As described in Section 48, each Destiny 2 player has a local copy of the game state. This game
       state contains all of the information available to the player through in-game displays, as well as
       information that is meant to be hidden from the player. The game client determines what
       information to provide to the player. For example, the game client must know when another
       player is on the other side of a wall even if the player cannot directly see them. The game client
       allows the player to see the wall, but not the player on the other side of the wall, intentionally
       obscuring that information from the player. However, a cheat like AimJunkies’ can read this
       information out of the game client’s memory and display it to the cheater to grant an advantage.
  115. The cheat can then project graphical elements on the visual display of the Destiny 2 program
       containing this information. This type of display modification almost always requires that the
       cheat software hook the game software’s rendering functions. As seen in the image below, this
       commonly includes highlighted boxes that show the locations of other players’ Guardians, even
       when the cheating player’s Guardians should not be able to see them.




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  116. The ability to know the location of other players’ Guardians when they should be hidden from
       sight provides a significant and fundamental advantage to the cheating player. For instance, the
       cheater gains the element of surprise over the non-cheating player and has the ability to shoot
       first, which is essential in a first-person shooter.
  117. Cheats may also manipulate the client to simulate user inputs, or even perform game actions
       directly. The aimbot functionality provided by the AimJunkies Destiny 2 cheat appears to read
       the positions of other players or NPC enemies from the client’s game state data and then
       automatically moves the player’s Guardian to aim perfectly at the target’s head for a guaranteed
       headshot critical hit.
  118. For example, in the case of an aimbot, the AimJunkies cheat appears to read the relative
       locational data of opposing Guardians from the game client’s data on the current game state.
       The cheat then uses this data to determine what mouse movements would be required for the
       cheater to register a headshot critical hit on their target. The cheat then uses this data to instruct
       the cheater’s computer that this movement has been made as a simulated input separate from
       the cheater’s own mouse movements. The computer receives this instruction from trusted
       system functions, and therefore passes this instruction to the game client as legitimate input on
       the part of the cheater. The game client, trusting these instructions from the computer, receives
       this input and performs the corresponding actions.
  119. Again, this cheat appears to operate by reading data from the Destiny 2 memory and accordingly
       manipulating the user’s device.
  120. Aiming is a game skill typically honed over the course of years. It is one of the fundamental ways
       Destiny 2 players compete with one another. Skilled players can perform incredibly precise
       movements to hit difficult shots, but players using aimbots can obtain perfect accuracy with the
       click of a button. By removing the skill element from this core game mechanic, cheaters degrade
       the competitive spirit that draws many players to Destiny 2.




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Game Product Devaluation
  121. The presence of cheaters within a game environment poisons the well for legitimate players and
       devalues the larger ecosystem built up around an online live-service multiplayer game such as
       Destiny 2.
  122. The presence of cheaters within this ecosystem has other knock-on effects. Cheaters produce
       negative reactions from the community on social media and discourage content creators from
       featuring the game on streams and recorded video. This negative reaction also disincentivizes
       developers from community interaction, which in turn leads to angrier fans. The social media
       feedback loop becomes a vicious circle.
  123. Destiny 2’s success is defined by aspirational and difficult content, or “endgame” content, that
       players are intended to enjoy through hundreds or thousands of hours to come. This content is
       accessed typically by players who have invested significant amounts of time and money in their
       characters, and who frequently have worked hard to improve their skill at the game. Cheating
       allows players to skip this investment and immediately be more successful than any other player.
  124. Even where a cheat developer’s customers only make up a small fraction of the game’s player
       community, their effect on the community is significant. For instance, in a live-service online
       multiplayer game like Destiny 2, retention of invested players is paramount. Competitive PvP and
       other endgame activities concentrate invested players at the highest levels, making it nearly
       inevitable that players who have invested the most time for skill building within the game will
       encounter cheaters more frequently than the rest of the player community. If these players are
       blocked from completing endgame activities by constant interactions with cheaters, they will
       choose to invest their time and money elsewhere. Those high-level players are often a large
       driving force of the popularity of a game, and when they leave a game, its popularity (including
       player count and social media presence) drops as well.
  125. Cheating has also given rise to cottage industries built around online games by third parties,
       which may collectively be referred to as “boosting services.” Boosting services provide a shortcut
       to success by fraudulently logging into another player’s account, or transferring items to a player
       in exchange for real-world money. The scale of these boosting services is enabled by access to
       cheats, which allow these boosters to provide returns to their customers rapidly and move on to
       the next order. In its purest form, paying for a boosting service is paying for someone else to
       cheat for you.
  126. When legitimate players of Destiny 2 are forced into interactions with cheaters of any variety, the
       game quickly begins to lose value for them. The highest tiers of play and reward become
       inaccessible, and continue to grow more inaccessible as players avoid the game out of fear and
       disgust when they encounter cheaters. Unimpeded cheat software represents a fundamental
       shift in the end-state of the game, with spiraling consequences that threaten the health of the
       game itself, causing harm to Bungie.




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                                            BX125.025
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Conclusion
  127. Bungie’s Destiny 2 game is buoyed by an active and engaged player community that participates
       in organic social media marketing and thrives on content from creators who promote Destiny 2
       to them and for them.
  128. This engagement relies upon the healthy and fair in-game environment Bungie provides, an
       environment which ensures that player success is defined by skill and dedication to the game.
       Bungie has a clear security commitment to their players to maintain this environment.
  129. The presence of cheaters within this environment damages Bungie and devalues the game for
       everyone involved. Fans are unhappy, unhappy fans discourage content creators from featuring
       the game, and developers are less likely to engage with the community.
  130. Cheaters seek to “pay-to-win,” bypassing skill-building and time investment by purchasing
       unauthorized third-party software to ensure their success.
  131. Cheat software threatens users. Vendors instruct users to disable security features or otherwise
       block them from interacting with their software, laying them open to attacks by viruses, trojans,
       and malware. A wide array of security providers detected the AimJunkies cheat loader as
       potential malware.
  132. Cheat software appears to interact with the Destiny 2 game client in unauthorized ways to
       provide cheaters competitive advantages against legitimate players.
  133. The continued presence of cheaters in the Destiny 2 game environment devalues the game by
       preventing legitimate players from achieving endgame goals that reflect their personal
       investments of time and energy and money. Dissatisfied players will leave Destiny 2 and spend
       their time and money elsewhere, which harms Bungie.




                                                                                                      25




                                           BX125.026
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Image of a Destiny 2 Guardian




Aiming without looking down gun sights




                                         BX125.027
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Aiming down sights (ADS)




Destiny 2 HUD Elements




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Destiny 2 Silver Packages (Steam Store)




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Destiny 2 in-game store




                                  BX125.030
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AimJunkies installation instructions (1 of 2)




                                                BX125.031
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AimJunkies installation instructions (2 of 2)




                                                BX125.032
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VirusTotal Detections on AimJunkies loader (compressed archive)




                                          BX125.033
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VirusTotal Detections on AimJunkies (Loader executable)




                                           BX125.034
